         Case 3:09-cv-02092-FAB Document 1649 Filed 01/25/23 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO


              ELIZIER CRUZ-APONTE, et al.
                                                                 Civil No. 09-2092-FAB
                        Plaintiffs
                                                                 and consolidated cases
                            v.

 CARIBBEAN PETROLEUM CORPORATION, et al.

                       Defendants



                        MOTION IN COMPLIANCE WITH ORDER

TO THE HONORABLE COURT:

         NOW INTO COURT, COMES John F. Nevares, Esq., and very respectfully states and

prays as follows:


         1.     On January 20th, 2023, this Honorable Court ordered the undesigned attorney to

provide Plaintiff Heriberto Garcia Parra, with the Settlements Agreements in the consolidated

cases.


         2.     On January 24th, 2023, the Settlements Agreements were delivered to Plaintiff at

the Bayamon 501 Correctional Facility thru Ms. Maria Pacheco Torres #11379, who is the

Administrative Public Official at the Correctional Facility in charge of receiving documents on

behalf of the inmates. (Evidence of delivery of Settlements Agreements is attached hereto as

Exhibit 1).

         WHEREFORE, John F. Nevares, Esq., respectfully requests from this Honorable Court

that it take notice of his compliance with Order dated January 20th, 2023, Docket No. 1647.

         RESPECTFULLY SUBMITTED.
        Case 3:09-cv-02092-FAB Document 1649 Filed 01/25/23 Page 2 of 2



       In San Juan, Puerto Rico this 25th day of January, 2023.

       CERTIFICATE OF SERVICE: I hereby certify that on this same date, I filed the

preceding motion with the Court’s CM/ECF system which will notify the counselors of record.

                                                    s/ John F. Nevares
                                                    JOHN F. NEVARES
                                                    USDC-PR 130502
                                                    John F. Nevares & Associates, PSC
                                                    P.O. Box 13667
                                                    San Juan, Puerto Rico 00908-3667
                                                    Telephone: (787) 722-9333
                                                    Facsimile: (787) 721-8820
                                                    Email: jfnevares@nevareslaw.com




                                              -2-
